Case 1:18-cv-00950-LO-JFA Document 75 Filed 01/18/19 Page 1 of 31 PageID# 947



                      UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA

 SONY MUSIC ENTERTAINMENT, et al.,

             Plaintiffs,

       v.                                   Case No. 1:18-cv-00950-LO-JFA

 COX COMMUNICATIONS, INC., et al.,

             Defendants.



            DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR
                          MOTION TO COMPEL
Case 1:18-cv-00950-LO-JFA Document 75 Filed 01/18/19 Page 2 of 31 PageID# 948



                                                  TABLE OF CONTENTS
                                                                                                                                           Page

I.      INTRODUCTION .............................................................................................................. 1
II.     BACKGROUND ................................................................................................................ 2
III.    LEGAL STANDARD ......................................................................................................... 2
IV.     PLAINTIFFS REFUSE TO PROVIDE MEANINGFUL FINANCIAL INFORMATION
        CONCERNING THE WORKS-IN-SUIT .......................................................................... 3
        A.         Cox’s Requests and Plaintiffs’ Responses .............................................................. 3
        B.         The requested information is relevant and Plaintiffs have asserted no specific
                   burden ..................................................................................................................... 5
V.      DOCUMENTS CONCERNING OWNERSHIP AND VALIDITY OF THE WORKS-IN-
        SUIT .................................................................................................................................... 8
        A.         Documents concerning chain-of-title ...................................................................... 9
        B.         Work-for-hire agreements ..................................................................................... 11
        C.         Plaintiffs have articulated no legitimate burden in searching for and producing
                   these documents .................................................................................................... 12
VI.     DOCUMENTS CONCERNING COX ............................................................................. 13
VII.    DOCUMENTS CONCERNING THE COPYRIGHT ALERT SYSTEM (“CAS”) AND
        THE ACTIONS OF OTHER ISPS ................................................................................... 14
        A.         Cox’s Requests and Plaintiffs’ Responses ............................................................ 15
        B.         Documents and information concerning the CAS and the actions of other ISPs are
                   highly relevant ...................................................................................................... 15
VIII.   DOCUMENTS CONCERNING MARKMONITOR ....................................................... 19
        A.         Cox’s Requests and Plaintiffs’ Responses ............................................................ 19
        B.         Plaintiffs’ communications with MarkMonitor, and documents concerning it, are
                   highly relevant ...................................................................................................... 20
IX.     DOCUMENTS CONCERNING AND COMMUNICATIONS WITH THE RIAA ........ 22
X.      THE EFFECT OF INFRINGEMENT ON PEER-TO-PEER NETWORKS.................... 24
XI.     CONCLUSION ................................................................................................................. 27




                                                                       i
Case 1:18-cv-00950-LO-JFA Document 75 Filed 01/18/19 Page 3 of 31 PageID# 949




I.        INTRODUCTION

          It has become clear that Plaintiffs—57 individually named record companies and music

publishers—believe that they can file this suit, produce copyright registrations and alleged

infringement notices, and enter this Court armed with the jury verdict in BMG Rights Management

(US) LLC et al. v. Cox Enterprises, Inc. et al., No. 1:14-cv-01611-LO-JFA (“BMG”), to demand

over $1.6 billion in statutory damages. But Plaintiffs should be required to produce documents—

unquestionably in their possession—that are directly relevant to the claims and defenses in this

action.

          With this motion, Cox seeks the following key categories of documents and information:

          •   Basic financial information regarding Plaintiffs’ revenue and profits related to the

              works-in-suit that is readily available and directly relevant to statutory damages;

          •   Information concerning the ownership and validity of the works-in-suit, including

              ownership agreements, challenges to ownership or validity, and work-for-hire

              agreements;

          •   Documents about Cox, including those that pertain to copyright infringement, beyond

              the unreasonable limitations insisted upon by Plaintiffs;

          •   Documents concerning the Copyright Alert System (“CAS”), an inter-industry

              agreement concerning standards for addressing online copyright infringement through

              Internet Service Providers (“ISPs”), to which many of the Plaintiffs are signatories;

          •   Documents concerning MarkMonitor, the vendor whose system purportedly identified

              the alleged direct infringements at issue in this case;




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Case 1:18-cv-00950-LO-JFA Document 75 Filed 01/18/19 Page 4 of 31 PageID# 950



       •   Documents concerning the Recording Industry Association of America (“RIAA”),

           Plaintiffs’ agent and the entity who managed the MarkMonitor policing program and

           is centrally involved in policing and enforcing Plaintiffs’ alleged rights;

       •   Documents concerning the effect on Plaintiffs from the use of peer-to-peer networks,

           including from infringement and legitimate uses.

       Each of these categories is directed at highly relevant information. Despite Cox’s efforts,

Plaintiffs have clung to their unreasonable objections. Cox respectfully requests that the Court

grant this motion.

II.    BACKGROUND

       Cox served its first set of document requests and interrogatories on November 19, 2018—

nearly two months ago. Since that time, the parties have had multiple, multi-hour meet and confer

calls regarding Plaintiffs’ objections and responses. 1 Throughout this process, Plaintiffs have

refused to respond to many requests that seek documents and information about which there can

be no question of relevance. For others, Plaintiffs have insisted upon inappropriate limitations. 2

       Cox has spent hours discussing and corresponding with Plaintiffs over these and other

requests, in an effort to resolve disputes without burdening the Court. 3

III.   LEGAL STANDARD

       The Federal Rules establish a broad right to discovery of “any non-privileged matter that

is relevant to any party’s claim or defense.” Fed. R. Civ. P. 26(b)(1); see also Gilbertson v. Jones,

No. 3:16-cv-255, 2016 WL 6518659, at *33 (E.D. Va., Sept. 22, 2016) (“Within the bounds of

proportionality, Rule 26(b)(1) grants broad discovery of all relevant information unprotected by



1
  See Declaration of Jennifer A. Golinveaux (“Golinveaux Decl.”), ¶ 2
2
  Golinveaux Decl., ¶¶ 2-3.
3
  Golinveaux Decl., ¶¶ 2-3.


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Case 1:18-cv-00950-LO-JFA Document 75 Filed 01/18/19 Page 5 of 31 PageID# 951



privilege.”); JTH Tax, Inc. v. Aime, No. 2:16-cv-279, 2016 WL 9223926, at *2 (E.D. Va. Dec. 13,

2016) (“The Federal Rules contemplate the broadest discovery possible in the search of the truth”).

The Federal Rules also “place the burden of objecting to discovery requests with specificity

squarely on the producing party rather than the requesting party.” Cappetta v. GC Servs. Ltd.

P’ship, No. CIV. A. 3:08CV288, 2008 WL 5377934, at *3 (E.D. Va. Dec. 24, 2008); see also

Kinetic Concepts, Inc. v. ConvaTec Inc., 268 F.R.D. 226, 243-44 (M.D.N.C. 2010) (collecting

Fourth Circuit cases in which courts “have repeatedly ruled that the party or person resisting

discovery, not the party moving to compel discovery, bears the burden of persuasion”).

IV.    PLAINTIFFS REFUSE TO PROVIDE MEANINGFUL FINANCIAL
       INFORMATION CONCERNING THE WORKS-IN-SUIT

       Plaintiffs refuse to produce the most basic financial information. At a minimum, this

includes Plaintiffs’ per-work, per-channel revenue from the works-in-suit and other information

bearing on Plaintiffs’ profits per work. Plaintiffs claim this information is irrelevant because they

now elect statutory damages. 4 That position is contrary to black-letter copyright law.

       A.      Cox’s Requests and Plaintiffs’ Responses

       Cox originally requested each plaintiff’s revenue, profit, and expenses per work-in-suit for

each of the last ten years, by medium. 5




4
  While Plaintiffs seek both statutory and actual damages in their Complaint, Compl. ¶¶ 111, 120,
they now say that they are electing statutory damages. See Golinveaux Decl., Ex. 3 (Plaintiffs’
Responses and Objections to Cox’s First Set of Requests for Production (“RFPs”) (Resp. to RFP
Nos. 28-29). When referring to Plaintiffs’ Objections or Responses to Cox’s requests, Cox will
refer to Exhibits 3 and 4 to the Golinveaux Declaration, which are Plaintiffs’ combined Responses
and Objections to Cox’s RFPs and Interrogatories, respectively, and note the relevant request
number and whether it is referring to either Plaintiffs’ Response (“Resp.”) or Objection (Obj.”).
5
  Golinveaux Decl., Ex. 1 (RFP No. 41); see also id. RFP Nos. 43-44 (same request but for profit
and expenses); Ex. 2 (Cox Communications, Inc.’s First Set of Interrogatories, Interrogatory No.
2); see also id. (Interrogatory No. 3) (requesting profit).


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Case 1:18-cv-00950-LO-JFA Document 75 Filed 01/18/19 Page 6 of 31 PageID# 952



       Cox also requested Plaintiffs’ profits per work-in-suit and documents concerning the effect

on these profits from infringement over peer-to-peer file sharing sites. 6

       In response to Cox’s requests for per-work revenue data, Plaintiffs objected that their

“revenues are not relevant to liability or damages.” 7 Plaintiffs also objected that the term

“medium” could encompass a range of physical products, as well as digital products, including

downloads, live streams, and on-demand streams. 8 Cox explained during a meet and confer that

this revenue information is relevant because Cox’s expert needs the data in order to estimate

Plaintiffs’ actual damages. Cox also proposed several compromises, including to limit its requests

to the years 2010 to 2014 9 and explained that if Plaintiffs did not maintain revenue data per

medium, that it would accept it per channel (e.g., physical media, digital downloads, streaming,

licensing royalties). 10 Plaintiffs rejected this compromise. 11 Cox also pointed Plaintiffs to this

Court’s ruling in BMG, in which the Court ordered BMG and Round Hill to produce the same

information. 12

       In response to Cox’s requests for data relating to Plaintiffs’ profits, Plaintiffs have

represented that they do not maintain per-work profit and loss statements. 13 Cox therefore

requested that Plaintiffs produce any information or analyses in their possession regarding the




6
  Golinveaux Decl., Ex. 1 (RFP Nos. 27-29, 36, 43); Ex. 2 (Interrogatory No. 3).
7
   Golinveaux Decl., Ex. 3 (Obj. to RFP No. 41); see also id. (Obj. to RFP Nos. 43-44) (same
objection with respect to Cox’s requests for profit and expense information); Ex. 4 (Resp. to
Interrogatory Nos. 2-3).
8
  Golinveaux Decl., Ex. 3 (Obj. to RFP Nos. 41, 43-44); Ex. 4 (Resp. to Interrogatory Nos. 2-3).
9
  Plaintiffs’ claim period ends in November 2014.
10
   Golinveaux Decl., Ex. 5 (Cox’s Dec. 7, 2018 Ltr. to Plaintiffs); Ex. 7 (Cox’s Dec. 26, 2108 Ltr.
to Plaintiffs).
11
   Golinveaux Decl., Ex. 6 (Plaintiffs’ Dec. 10, 2018 Ltr. to Cox); Ex. 8 (Plaintiffs’ Dec. 28, 2018
Ltr. to Cox).
12
   Golinveaux Decl., Ex. 7 (Cox’s Dec. 26, 2018 Ltr. to Plaintiffs).
13
   Golinveaux Decl., Ex. 7 at 2-3.


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Case 1:18-cv-00950-LO-JFA Document 75 Filed 01/18/19 Page 7 of 31 PageID# 953



profits earned for any of the works at issue, any artist whose work is at issue, or, if a Plaintiff’s

works are divided into different labels or divisions, information relating to the profits earned by

those labels or divisions. Id.

          But Plaintiffs maintained their objections, instead only offering to provide a “proffer of

financial information,” in lieu of the requested information. Although they first indicated they

expected to provide this proffer more than a month ago, Plaintiffs have yet to do so, nor will they

say when it will be produced. 14 When pressed to describe the proffer, Plaintiffs said that it will be

a “range” of each Plaintiff’s digital download revenue during the years 2010-2014. Id. But,

according to Plaintiffs, the proffer would neither be specific to the works-in-suit, nor would it

include the requested revenue from physical sales, streaming, and licensing royalties. Plaintiffs

also refused to produce any of the data upon which the proffer is based. Id. Such a proffer, if it is

ever provided, is woefully inadequate.

          B.      The requested information is relevant and Plaintiffs have asserted no specific
                  burden

          Contrary to Plaintiffs’ assertion, an assessment of actual damages is directly relevant to

statutory damages. See Seoul Broad. Sys. Int’l, Inc. v. Young Min Ro, No. 1:09CV433 LMB/IDD,

2011 WL 3207024, at *8 (E.D. Va. July 27, 2011) (a court begins by assessing “the underlying

economic realities of the situation, including the actual damages suffered by the plaintiff, any

expenses saved by the defendant in avoiding a licensing arrangement, and any profits reaped by

the defendants in connection with the infringement”) (citing Olde Mill Co., Inc. v. Alamo Flag,

Inc., No. 1:10cv130, 2010 WL 3430917 (E.D. Va. Aug. 27, 2010)); see also EMI April Music, Inc.

v. White, 618 F. Supp. 2d. 497, 508-09 (E.D. Va. 2009); Nimmer on Copyright § 14.04[B] at 14-

41 (actual damages, including revenues lost, should be considered in awarding statutory damages).


14
     Golinveaux Decl., Ex. 7 at 3; Ex. 18 (Cox’s Jan. 11, 2018 Ltr. to Plaintiffs at 1-2).


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Case 1:18-cv-00950-LO-JFA Document 75 Filed 01/18/19 Page 8 of 31 PageID# 954



This is because “statutory damages should bear some relation to the actual damages suffered.”

Dae Han Video Prod., Inc. v. Chun, No. CIV. A. 89-1470-A, 1990 WL 265976, at *7 (E.D. Va.

June 18, 1990) (considering actual damages suffered for setting the applicable range of statutory

damages).

       As noted above, in BMG, this Court ordered the plaintiffs to produce the same type of

information, namely the revenue derived from each work by distribution channel (e.g., physical

sales, digital downloads, streaming, and license royalties). Golinveaux Decl., Ex. 9 (June 29, 2016

Hr’g Tr. at 33:24-25, BMG ECF No. 113). BMG’s counsel also made many of the same objections

Plaintiffs assert here. For example, BMG’s counsel argued that “no one is sure how [Cox is]

going” to calculate actual damages. Id. at 26:2-12; see also id. at 28:23-25 (“[Y]ou can’t prove a

but for, but for this one download we would have lost income related to the album sales, or digital

downloads, or streaming, or licensing.”).       Cox responded that it was taking the burden of

performing this analysis, not the rights holders. Id. at 29:3-8. And if the rights holders wanted to

challenge the strength of the analysis, they could do so before or during trial. Id. 15

       As in BMG, the requested data is relevant here to the issue of damages in several important

ways. For example, it is relevant to a determination of a proper statutory damages award per work.

If an individual plaintiff’s revenue from one work is small, and there is no evidence that this work

was infringed disproportionately more than any other work, Cox should be entitled to argue to the




15
   Any argument that this would be unhelpful to the jury also fails. In BMG, BMG moved to
exclude Cox’s expert’s analysis with respect to actual damages before trial. BMG ECF Nos. 466,
690, 676. Judge O’Grady denied that motion, allowing Cox’s expert to testify regarding his
estimates of BMG’s actual damages, which was based on BMG’s per-work, per-channel revenue
data. Id. And in their recent motion to compel, Plaintiffs explicitly argued that “the standard for
discovery is relevance, not hypothetical concerns about the downstream impact such discovery
might have at trial,” as such concerns can be addressed through motions in limine. See ECF No.
65 at 109. The same arguments apply here.


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Case 1:18-cv-00950-LO-JFA Document 75 Filed 01/18/19 Page 9 of 31 PageID# 955



jury that this plaintiff is not entitled to the same level of statutory damages for the work as

compared to a high-revenue-generating work.            In addition, Plaintiffs have produced the

infringement notices they sent to Cox regarding the works-in-suit. 16 Cox has also served a

subpoena on MarkMonitor for documents that identify all alleged instances of infringement by

Cox subscribers, regardless of whether those instances were documented in notices that were sent

to Cox. 17 While Cox does not concede that the copyright infringement notices or alleged

observations constitute evidence of direct infringement, this information can nevertheless be used

as a data point in estimating Plaintiffs’ actual damages. In other words, if one assumed that each

observation of an alleged infringement displaced a legitimate sale, then a more precise estimation

of Plaintiffs’ damages could be calculated with Plaintiffs’ per-work, per-channel revenue data.

         Plaintiffs have not represented that they do not maintain this data, nor that it would be

unduly burdensome to produce it. Indeed, Plaintiffs would be hard-pressed to assert any burden

in producing this data that is disproportionate to the needs of this case where the 57 separate

plaintiffs collectively seek more than $1.6 billion in damages. Cox should be permitted discovery

regarding each plaintiff’s actual damages to inform the jury’s decision on statutory damages.

         And with respect to Plaintiffs’ documents bearing on their profits, with Plaintiffs’ proposed

“proffer” of financial information, Plaintiffs concede that their actual revenue is relevant to this

case. Even more relevant than revenue is data pertaining to Plaintiffs’ actual profits from the

works-in-suit, as it is the operative variable when determining Plaintiffs’ actual damages. See

Seoul Broad. Sys. Int’l, Inc., No. 1:09CV433 LMB/IDD, 2011 WL 3207024, at *8 (to make an




16
     Golinveaux Decl., Ex. 8 at 7.
17
     Golinveaux Decl., Ex. 10 (MarkMonitor RFP Nos. 8-11).


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Case 1:18-cv-00950-LO-JFA Document 75 Filed 01/18/19 Page 10 of 31 PageID# 956



assessment of statutory damages, courts generally begin by considering plaintiffs’ actual

damages).

       Underscoring the relevance of profit data, in BMG this Court asked plaintiffs’ counsel,

“[w]hy aren’t they (Cox) entitled to get some sense as to what has been the profit for each

copyrighted work as opposed to merely just the revenue.” Golinveaux Decl., Ex. 9 (Hr’g Tr. at

27:10-12). When counsel represented that BMG does not have data on profits per work, this Court

observed that Cox could use BMG’s general profit margins to reduce their per-work revenue in

order to “ballpark” a profit per work. Id. at 32:11-33:7. Plaintiffs’ relevance objections are

unfounded and they should be compelled to produce this information.

V.     DOCUMENTS CONCERNING OWNERSHIP AND VALIDITY OF THE
       WORKS-IN-SUIT

       Before they can pursue $150,000 in statutory damages on each work-in-suit, it is

indisputably each plaintiff’s burden to establish that it owned a valid copyright at the time of

infringement. See Keeler Brass Co. v. Cont’l Brass Co., 862 F.2d 1063, 1065 (4th Cir. 1988); see

also Princeton Payment Sols., LLC v. ACI Worldwide, Inc., 2014 WL 4104170, at *4 (E.D. Va.

Aug. 15, 2014) (plaintiff must own the copyrights at issue in order to have standing to sue).

       Here, Plaintiffs will only agree to produce registration certificates (or what Plaintiffs

purport to be adequate substitutes) 18 and “documents sufficient to demonstrate that Plaintiffs are

the legal and/or beneficial owners of an exclusive right under copyright to their respective

copyrighted works in suit … .” 19 From Cox’s review to date of Plaintiffs’ validity and ownership-



18
   Plaintiffs have represented that “if a certificate is not readily accessible, a look-up page
evidencing registration printed from the U.S. Copyright Office’s website [will be produced].
Alternatively, for some older copyrighted works, Plaintiffs will produce a copy of the Copyright
Office’s card-catalogue entry evidencing registration” will be produced. See, e.g., Golinveaux
Decl., Ex. 3 (Resp. to RFP 6) (emphasis and alteration added).
19
   Golinveaux Decl., Ex. 3 (Resp. to RFP Nos. 15, 21-22) (emphasis added).


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Case 1:18-cv-00950-LO-JFA Document 75 Filed 01/18/19 Page 11 of 31 PageID# 957



related documents, it appears that the vast majority are either registration certificates or printouts

from the Copyright Office’s website showing the registration number, the title of the work, the

artist(s), and the copyright claimant. Golinveaux Decl., ¶ 10. Moreover, for one plaintiff group,

“Sony Music Entertainment,” which comprises eight separate plaintiffs who collectively assert

over 3,000 works in this case and demand nearly $500 million in statutory damages, 20 Plaintiffs

have produced only a spattering of what appear to be chain-of-title documents and they deal with

only a small number of the relevant artists. Golinveaux Decl., ¶ 11.

       In light of Plaintiffs’ unequivocal refusal to produce all relevant documents, the contents

of their actual production, and the parties’ burden with respect to this critical issue, including the

scrutiny the Court is to place on it, Plaintiffs should be compelled to produce documents responsive

to Cox’s requests.

       A.      Documents concerning chain-of-title

       In addition to registration certificates, Cox has requested Plaintiffs’ assignments and

licenses for the works-in-suit for the last ten years and documents concerning challenges to the

validity or their ownership of the works-in-suit. 21 Based upon their unilateral representation that

they have produced documents “sufficient” to demonstrate their ownership of the works-in-suit,

Plaintiffs have flatly refused to produce their licenses and assignments and asserted that they will

not produce any documents concerning challenges unless Cox first “identifies specific works for

which it has a good faith basis to question validity or ownership.” 22 That is not how discovery in

a copyright case works.




20
   Golinveaux Decl., Ex. 11 (Plaintiffs’ Rule 26 Disclosures, Appendix 1).
21
   Golinveaux Decl., Ex. 1 (RFP No. 15-16, 18, 21-22).
22
   Golinveaux Decl., Ex. 8 at 6.


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Case 1:18-cv-00950-LO-JFA Document 75 Filed 01/18/19 Page 12 of 31 PageID# 958



        Although a registration certificate (where it exists) can provide a presumption of

ownership, the Fourth Circuit encourages courts to “consider and assess other relevant indicia of

ownership, such as the parties’ intent and the terms of transfer agreements and other documents

establishing a chain of title.” Universal Furniture Int’l, Inc. v. Collezione Europa USA, Inc., 618

F.3d 417, 428 (4th Cir. 2010), as amended (Aug. 24, 2010). This is because there are myriad issues

that undermine a copyright plaintiff’s ability to assert copyright infringement. See, e.g., Big E.

Entm’t, Inc. v. Zomba Enterprises, Inc., 453 F. Supp. 2d 788, 800 (S.D.N.Y. 2006), aff’d sub nom.

Big E. Entm’t, Inc. v. Zomba Enterprises, Inc., 259 F. App’x 413 (2d Cir. 2008) (dismissing

copyright infringement claim where the plaintiff “failed to show undisputed evidence of its

copyright ownership”); Moran v. London Records, Ltd., 642 F. Supp. 1023, 1025 (N.D. Ill. 1986),

aff’d, 827 F.2d 180 (7th Cir. 1987) (granting motion to dismiss upon finding that because plaintiff

“was never part of the chain of title to the copyright” he lacked standing to sue for its infringement);

Optima Tobacco Corp. v. US Flue-Cured Tobacco Growers, Inc., 171 F. Supp. 3d 1303, 1306

(S.D. Fla. 2016) (dismissing case where plaintiff did not own the copyrights at issue); Ez-Tixz, Inc.

v. Hit-Tix, Inc., 919 F. Supp. 728, 735 (S.D.N.Y. 1996) (dismissing claim for statutory damages

where copyright was registered after the infringing activity).

        Moreover, when a plaintiff does produce a registration certificate, which is prima facie

evidence of ownership, “the burden shifts to the defendant to prove that the claimed copyrights are

invalid.” See Universal Furniture Int’l, Inc., 618 F.3d at 428. As demonstrated in BMG on

summary judgment, there can be no question that such documents are highly relevant in a case like

this. See, e.g., BMG Rights Mgmt. (US) LLC v. Cox Commc’ns, Inc., 149 F. Supp. 3d 634, 649-50

(E.D. Va. 2015), aff’d in part, rev’d in part, 881 F.3d 293 (4th Cir. 2018) (“‘Considering the

preeminence of exclusive rights in copyright cases, it is axiomatic that if the … Agreement did not




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Case 1:18-cv-00950-LO-JFA Document 75 Filed 01/18/19 Page 13 of 31 PageID# 959



specify that exclusive rights were being transferred, no such rights were in fact transferred.’”)

(quoting John Wiley & Sons, Inc. v. DRK Photo, 998 F. Supp. 2d 262, 278 (S.D.N.Y. 2014)).

         Plaintiffs should thus be compelled to produce the requested documents, which bear

directly on chain-of-title, including all assignments and licenses and any documents concerning

challenges to either the validity or their ownership of the works-in-suit. 23

         B.      Work-for-hire agreements

         As outlined above, Plaintiffs must prove that they possess the exclusive or beneficial right

to the works-in-suit. Based upon Cox’s review of Plaintiffs’ registration certificates to date, a very

significant number of Plaintiffs’ works appear to have been registered as works-for-hire.

Golinveaux Decl., ¶ 11. While Plaintiffs have produced some agreements and other documents

relating to their chain-of-title, which they unilaterally claim is “sufficient” to demonstrate their

ownership, they have outright refused to produce documents responsive to Cox’s requests for

work-for-hire agreements. 24 However, these agreements are essential to Plaintiffs’ ability to assert

the relevant works-in-suit.

         Under the Copyright Act, a work cannot be considered one for hire unless there is a written

agreement in place, at the time of creation, that the work was made for hire. See 17 U.S.C.

§ 101(a); see also Schiller & Schmidt, Inc. v. Nordisco Corp., 969 F.2d 410, 413 (7th Cir. 1992)

(“The writing must precede the creation of the property in order to serve its purpose of identifying

the (noncreator) owner unequivocally.”); Gladwell Gov’t Servs., Inc. v. Cty. of Marin, 265 F.

App’x 624, 626 (9th Cir. 2008) (“The plain language of the [Copyright Act] indicates that a work-

for-hire agreement cannot apply to works that are already in existence.”); Morgan, Inc. v. White

Rock Distilleries, Inc., 230 F. Supp. 2d 104, 108-09 (D. Me. 2002) (dismissing a copyright action


23
     Golinveaux Decl., Ex. 1 (RFP Nos. 10, 15-16, 21-22).
24
     Golinveaux Decl., Ex. 3 (Obj. and Resp. to RFP Nos. 13-14).


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Case 1:18-cv-00950-LO-JFA Document 75 Filed 01/18/19 Page 14 of 31 PageID# 960



because the registration that indicated proper author but not “work made for hire” ownership as to

plaintiff was invalid, even if omission was a misstatement, and despite later written agreement).

       While registration certificates are prima facie evidence of validity, that presumption is

directly rebutted when it is demonstrated that there was no work-for-hire agreement in place when

the work was registered. See, e.g., Masquerade Novelty, Inc. v. Unique Indus., Inc., 912 F.2d 663,

667 (3d Cir. 1990) (“It has been consistently held that a plaintiff’s knowing failure to advise the

Copyright Office of facts which might have led to the rejection of a registration application

constitutes grounds for holding the registration invalid and incapable of supporting an

infringement action.”).

       Here, in order for Plaintiffs to establish that their registration of a work-for-hire is valid,

and that they are entitled to assert infringement in this action, they must produce work-for-hire

agreements that were in effect at the date of creation. But Plaintiffs flatly refuse to do so,

demurring that they have produced documents “sufficient” to demonstrate validity and ownership.

Cox is entitled to challenge Plaintiffs’ ability to assert the works-in-suit. In order to do so it must

be able to meaningfully examine the documents relevant to Plaintiffs’ claims to these works.

Plaintiffs should be compelled to produce their work-for-hire agreements for the works-in-suit.

       C.      Plaintiffs have articulated no legitimate burden in searching for and
               producing these documents

       Plaintiffs have also failed to articulate a disproportionate burden in responding to Cox’s

requests that seek information fundamental to any copyright case. For example, with respect to

Cox’s requests for documents concerning challenges to Plaintiffs’ copyrights, Plaintiffs have

merely represented that none of the Plaintiffs maintain central files regarding challenges to validity




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Case 1:18-cv-00950-LO-JFA Document 75 Filed 01/18/19 Page 15 of 31 PageID# 961



or ownership. 25 But Plaintiffs did not articulate why it would be unduly burdensome to collect

and search for such documents.

       In a case alleging infringement of nearly 11,000 works, if an individual plaintiff cannot

meet its burden to establish that it owns one, the consequence is to remove the work from the

case—and to eliminate up to $150,000 in potential statutory damages for that work. Documents

concerning validity and ownership are critically relevant to any copyright case. Plaintiffs should

be compelled to respond to Cox’s outstanding requests.

VI.    DOCUMENTS CONCERNING COX

       Cox requested the following documents concerning Cox:

               RFP No. 64: All documents that mention, refer to, or relate to Cox
               that were created, received, or sent from 2013 to present.

               RFP No. 65: All documents concerning communications with Cox
               regarding copyright infringement. 26

       Plaintiffs initially objected on the grounds that these requests might encompass irrelevant

documents, such as those concerning Plaintiffs’ “telecom needs.” 27 During discussions, Cox

explained that it was not interested in Plaintiffs’ monthly invoices for Cox’s services. 28 Cox also

agreed, at Plaintiffs’ request, that Plaintiffs need not log responsive privileged documents strictly

between the parties-in-suit and their outside litigation counsel of record created after January 29,

2016. 29 Despite this narrowing, Plaintiffs have only agreed to produce limited categories of



25
   Golinveaux Decl., Ex. 8 at 6.
26
   Cox has also sought all Plaintiffs’ documents concerning Cox’s Cox Abuse Tracking System
(or “CATS”) and documents concerning Plaintiffs’ attempts to contact Cox’s subscribers
concerning allegations of copyright infringement. Golinveaux Decl., Ex. 1 (RFP Nos. 128-129,
134-135).
27
   Golinveaux Decl., Ex. 3 (Obj. to RFP Nos. 64-65).
28
   Golinveaux Decl., Ex. 18 (Cox’s Jan. 11, 2019 Ltr. to Plaintiffs at 2-3).
29
   This is the date that Plaintiffs’ counsel sent a letter to counsel for Cox regarding their purported
claims in this case.


                                                  13
Case 1:18-cv-00950-LO-JFA Document 75 Filed 01/18/19 Page 16 of 31 PageID# 962



documents about Cox that (1) concern analyses of the MarkMonitor system between 2012-2014;

(2) documents relating to Cox’s response to receiving an infringement notice sent by or on behalf

of Plaintiffs between 2012-2014; and (3) documents concerning the number of infringement

notices Cox would accept from Plaintiffs or on behalf of Plaintiffs. 30

          This limitation is entirely inappropriate, as it eliminates highly relevant categories of

documents such as those concerning Cox’s copyright policy and how it compared to others in the

industry, including the effectiveness of Cox’s copyright policies. It would also not encompass any

documents created after 2014 that discuss Cox’s receipt of copyright infringement notices or any

other relevant event that transpired during that time period. Plaintiffs have asserted no good-faith

basis to limit this request to the narrow categories identified in their Supplemental Responses and

should be compelled to respond to Cox’s narrowly tailored requests.

VII.      DOCUMENTS CONCERNING THE COPYRIGHT ALERT SYSTEM (“CAS”)
          AND THE ACTIONS OF OTHER ISPS

          Plaintiffs’ Complaint is replete with allegations characterizing Cox’s actions with respect

to alleged copyright infringement as unreasonable, “arbitrary,” or that Cox somehow stands apart

from the industry in this respect. As a result, Cox has requested documents concerning the

Copyright Alert System (“the CAS”), the CAS Agreement (an inter-industry agreement addressing

copyright infringement on the Internet), and the actions of other ISPs in response to copyright

notices. Plaintiffs have flatly refused to produce any documents responsive to these requests on

the grounds that “CAS was a private agreement in which Cox refused to participate” and that “[i]t

has no bearing on Cox’s liability or damages for the claims alleged in this case.” 31 These

documents are highly relevant and should be produced.



30
     Golinveaux Decl., Ex. 20 (Supp. Resp., RFP Nos. 64-65).
31
     See, e.g., Golinveaux Decl., Ex. 3 (Obj. to RFP Nos. 165-174).


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Case 1:18-cv-00950-LO-JFA Document 75 Filed 01/18/19 Page 17 of 31 PageID# 963



       A.     Cox’s Requests and Plaintiffs’ Responses

       Cox’s requests are narrowly tailored and straightforward. Cox seeks Plaintiffs’ documents

concerning the CAS, including but not limited to negotiations related to the CAS’s formation and

implementation, and reviews and assessments concerning the CAS and any technological system

used in connection with CAS. 32 Cox has also requested that Plaintiffs identify whether they were

signatories to the CAS. 33 Cox also seeks Plaintiffs’ documents concerning other ISPs’ responses

to infringement notices, including those ISPs’ policies and practices regarding termination and

suspension, and Plaintiffs’ communications or negotiations with other ISPs regarding the number

of copyright infringement notices they would accept. 34 Plaintiffs have refused to produce any of

these documents. 35

       B.     Documents and information concerning the CAS and the actions of other
              ISPs are highly relevant

       In February 2013, a number of copyright owners, entertainment industry associations, and

ISPs collectively entered into the CAS Agreement to establish the CAS. 36 The CAS Agreement

set out a system (the CAS) by which participating copyright owners would send notices to

participating ISPs and the ISPs would in turn send those notices to the relevant subscriber. Id.,

Ex. 12. The CAS also established limits to the number of notices an ISP was required to process

and further provided that an ISP could temporarily cease processing notices if it received more

than its business processes and systems could reasonably address. Id., Ex. 13. In addition, the




32
   Golinveaux Decl., Ex. 1 (RFP Nos. 165-174).
33
   Golinveaux Decl., Ex. 2 (Interrogatory No. 8).
34
   Golinveaux Decl., Ex. 1 (RFP Nos. 118, 126-127, 130-131).
35
   Golinveaux Decl.., Ex. 3 (Resp. to RFP Nos. 118, 126-127, 130-131, 165-174); Ex. 4 (Resp. to
Interrogatory No. 8); see also Ex. 6 (Plaintiffs’ Dec. 10, 2018 Ltr. to Cox at 9).
36
   Golinveaux Decl., Ex. 12 at 3, n.4; Ex. 13 at 2-3.


                                               15
Case 1:18-cv-00950-LO-JFA Document 75 Filed 01/18/19 Page 18 of 31 PageID# 964



CAS Agreement did not require ISPs to terminate subscribers who were accused of infringement

and who continued to receive notices. Id. at 9, n.1.

        As an inter-industry agreement addressing standards for copyright owners and ISPs to

address copyright infringement on the Internet, the CAS Agreement is relevant to what copyright

claimants and ISPs considered reasonable and appropriate for such standards during Plaintiffs’

claim period. In May 2014, RIAA Chairman and CEO Cary Sherman described the CAS’s parent

organization, the Center for Copyright Information, as “a model for success,” and lauded “the

[CAS] and all its accomplishments,” including that it was “moving the needle” in combating

copyright infringement because “there were fewer and fewer Alerts sent at each level.” 37

        Following the termination of the CAS in 2017, the Center for Copyright Information also

disbanded. 38 A number of Plaintiffs in this case were signatories to the CAS Agreement and thus

likely possess documents and information responsive to Cox’s outstanding requests. Golinveaux

Decl., ¶ 19. 39 Because Cox was not a signatory to the CAS Agreement, it is not in possession of

such documents. Id.

        Beyond the role the CAS played in the industry, Plaintiffs’ Complaint also demonstrates

that documents concerning the CAS and other ISPs’ practices are relevant to this case, as it is full

of allegations concerning Cox’s actions with respect to the acceptance and processing of



37
    Cary Sherman, “CCI: A Model for Success,” RIAA.com (May 28, 2014), available at
https://www.riaa.com/cci-a-model-for-success/ (last visited Jan. 18, 2019).
38
   The CAS and the CAS Agreement were terminated on January 27, 2017. See Golinveaux Decl.,
Ex. 14.
39
   Based upon information and belief, Sony Music Entertainment and UMG Recordings, Inc. were
each signatories to the CAS Agreement. Golinveaux Decl., ¶ 19. In addition, upon information
and belief, all of the other Plaintiffs were affiliates, subsidiaries, or successors of signatories to the
CAS Agreement. Id. Importantly, the RIAA was also a signatory to the CAS Agreement and
many of the Plaintiffs are members of the RIAA. Id. Cox has specifically requested each Plaintiff
to identify whether it is a signatory to the CAS but Plaintiffs have collectively refused to do so on
relevance grounds. See Golinveaux Decl., Ex. 4 (Obj. to Interrogatory No. 8).


                                                   16
Case 1:18-cv-00950-LO-JFA Document 75 Filed 01/18/19 Page 19 of 31 PageID# 965



infringement notices and the actions that it took with its own subscribers. See, e.g., Compl., ¶¶ 2,

8, 92, 97, 99-100, 102, 108, 116. Indeed, Plaintiffs go so far as to allege that Cox’s decision to

limit the number of notices it would accept was “arbitrary.” Id., ¶¶ 2, 8, 92, 99. Agreements

entered into as part of the CAS are relevant to testing those allegations. Plaintiffs also repeatedly

allege that Cox’s actions somehow served as an incentive for its subscribers to infringe or even to

attract would-be infringers to its services. 40 Documents concerning other ISPs and the CAS are

also relevant to testing that assertion. Moreover, Plaintiffs’ own discovery requests seek similar

information from Cox, which clearly demonstrates that Plaintiffs view this issue as relevant. 41

       Plaintiffs’ documents concerning the CAS and other ISPs’ treatment of copyright

infringement notices are likely to bear on these issues. For example, as signatories to the CAS

Agreement (or subsidiary agreements to it), Plaintiffs are likely to have internal communications

relating to the number of copyright infringement notices that they or other rights holders believe

are acceptable, what other ISPs are willing to accept, how other rights holders are handling these

considerations, and how, if at all, the number impacts alleged instances of infringement and

consumer choice (whether legitimate or illegitimate). Plaintiffs are also likely to have documents

that concern the reasonableness of an ISP’s actions when one of its subscribers receives multiple




40
   See, e.g., Compl., ¶¶ 2-3, 8-9; see also id., ¶ 88 (alleging that “Cox condoned the illegal activity
because it was popular with subscribers and acted as a draw in attracting and retaining
subscribers”), ¶ 3 (“Cox’s profits increased dramatically as a result of the massive infringement
that it facilitated”), ¶ 85 (alleging that infringing on Cox’s network “is a primary motivation for
subscribing on Cox’s service”), ¶ 86 (alleging that Cox’s practice of not engaging in “bandwidth
throttling” attracted would-be infringers), ¶¶ 92, 100-102, 107.
41
   See Golinveaux Decl., Ex. 15 (Plaintiffs’ RFP Nos. 19-21, 23-24, 26, 30, 43) (broadly seeking
policies on handling copyright infringement notices, including documents concerning “caps or
quotas” and Cox’s actions against its subscribers); Ex. 16 (Plaintiffs’ Interrogatory Nos. 4-5)
(responses to notice, including Cox’s actions against its subscribers).


                                                  17
Case 1:18-cv-00950-LO-JFA Document 75 Filed 01/18/19 Page 20 of 31 PageID# 966



infringement notices. As noted above, the CAS Agreement did not require an ISP to terminate an

alleged repeat infringer, but it could take other mitigating action.

       In BMG, this Court recognized the probity of these types of documents when it ordered the

BMG plaintiffs to produce documents concerning Rightscorp’s relationship with other ISPs,

including documents that relate to whether the BMG plaintiffs and Rightscorp treated Cox

differently from other ISPs. Golinveaux Decl., Ex. 9 (Hr’g Tr. at 19:13-17, 20:2-9). This Court

also recognized that the BMG plaintiffs’ and Rightscorp’s statements regarding other ISPs that

differ from statements or positions they made with respect to Cox would be relevant and admissible

as party admissions. See id. at 19:13-17, 20:2-9; see also Fed. R. Evid. 801(d)(2)(D). The Court

thus ordered the production of these documents because “given the nature of the case ... [the Court]

can’t say that it wouldn’t be discoverable information.” Golinveaux Decl., Ex. 9 (Hr’g Tr. at 21:5-

7). As it was critical in BMG that the parties develop these issues during discovery, the same is

true here. See, e.g., BMG ECF No. 998 (precluding Cox from introducing at trial evidence

regarding the actions of other ISPs because “it would be unfairly prejudicial to permit Cox to

present testimony in support of a theory that BMG did not have the opportunity to test in

discovery”).

       Cox is entitled to discovery of documents that may allow it to refute and contextualize

Plaintiffs’ allegations as weighed against industry standards. But without the documents—which

are in the possession of at least certain of the Plaintiffs—Cox is unable to do so. Plaintiffs should

be compelled to produce documents responsive to these requests.




                                                 18
Case 1:18-cv-00950-LO-JFA Document 75 Filed 01/18/19 Page 21 of 31 PageID# 967



VIII. DOCUMENTS CONCERNING MARKMONITOR

       A.      Cox’s Requests and Plaintiffs’ Responses

       Plaintiffs have represented that MarkMonitor is the entity that the RIAA worked with to

identify the alleged copyright infringements in this case and to send notices to Cox.42 Documents

concerning MarkMonitor, and the nature and reliability of its monitoring system and monitoring

agreements with Plaintiffs, are therefore highly relevant to Plaintiffs’ ability to establish direct

infringement in this case. Accordingly, Cox has requested Plaintiffs’ communications with

MarkMonitor and documents concerning MarkMonitor, including analyses and other documents

related to its system, a necessarily limited universe of documents. 43

       While Plaintiffs initially refused to produce documents in response to certain of these

requests on the basis of burden and relevance, they agreed only to meet and confer on others. 44

During the parties’ subsequent discussions, Cox asked what about these requests rendered them

overbroad or unduly burdensome. Cox explained that if Plaintiffs used MarkMonitor for other

types of services unrelated to policing of the copyrights (such as trademark watching services),

Plaintiffs need not produce documents concerning unrelated services, thus narrowing the requests.

But Cox further explained that “[a]ny correspondence concerning MarkMonitor relating in any

manner to copyright policing or monitoring services, Cox, or this litigation must be produced.” 45

       In Plaintiffs’ Supplemental Responses, served nearly two months after Cox served these

discovery requests, and after the several rounds of discussions and letters outlined above, Plaintiffs

refuse to produce any documents in response to these requests other than the following:


42
   Golinveaux Decl., Ex. 4 (Resp. to Interrogatory Nos. 4-5) (the RIAA, “through MarkMonitor,
sent copyright infringement notices to Cox regarding Plaintiffs’ works upon which Plaintiffs will
rely in this litigation.”); see also Ex. 11 (Plaintiffs’ Rule 26 Disclosures at 5).
43
   Golinveaux Decl., Ex. 1 (RFP Nos. 136, 139, 141, 144-148, 156, 159).
44
   Golinveaux Decl., Ex. 3 (Objs. & Resp. to RFP Nos. 136, 139, 156, 162, 163); Ex. 6 at 8.
45
   Golinveaux Decl., Ex. 19 at 3.


                                                 19
Case 1:18-cv-00950-LO-JFA Document 75 Filed 01/18/19 Page 22 of 31 PageID# 968



               (1) notices of infringement in their possession, custody, or control
               that are related to the copyrighted works in suit and were sent to Cox
               by or on behalf of Plaintiffs, (2) downloads of the unauthorized
               copies of the copyrighted works infringed by Cox’s subscribers, (3)
               documents sufficient to show information concerning infringement
               of the copyrighted works in suit by Cox’s subscribers or customers,
               (4) for the period 2012-2014, documents concerning analysis of the
               reliability of the MarkMonitor system used to produce the copyright
               notices sent to Cox upon which Plaintiffs will rely in this litigation,
               (5) for the period 2012-2014, documents relating to Cox’s response
               to receiving an infringement notice sent by or on behalf of Plaintiffs,
               and (6) documents concerning the number of infringement notices
               Cox would accept from Plaintiffs or on behalf of Plaintiffs.

Limiting responsive documents to these narrow categories is inappropriate and insufficient.

       B.      Plaintiffs’ communications with MarkMonitor, and documents concerning it,
               are highly relevant

       Plaintiffs’ Supplemental Responses to these requests are unacceptable for several reasons.

First, Plaintiffs limit their production to documents concerning any analyses created between 2012

and 2014 regarding the MarkMonitor system used to generate the notices that were sent to Cox.

This limitation would exclude all Plaintiffs’ communications and documents concerning

MarkMonitor that do not qualify as an “analysis,” do not fall within this date range, and do not

pertain to the system used to generate notices. Moreover, depending on Plaintiffs’ unilateral

definition of “analysis,” Plaintiffs’ limitation does not encompass statements about MarkMonitor’s

purpose, the efficacy of its system, how it compares to other monitoring services, whether it is

advisable to utilize MarkMonitor in light of any public blowback, and Plaintiffs’ potential recovery

through the use of MarkMonitor.

       Moreover, Plaintiffs’ proposed limitation would not capture analyses and the documents

concerning them that were created before or after this date, which may also relate to the system(s)

or any component(s) of the system(s) that were used to generate the notices sent to Cox. For

example, analyses and the documents concerning them created before or after this time period are



                                                 20
Case 1:18-cv-00950-LO-JFA Document 75 Filed 01/18/19 Page 23 of 31 PageID# 969



relevant to MarkMonitor and the way in which it operates as a company and analysis of its system

leading up to Plaintiffs engaging MarkMonitor to begin sending notices to Cox. And these

documents bear not only on MarkMonitor, which is a key third party in this action, but also on

Plaintiffs (and their agent, the RIAA) in their decision to hire MarkMonitor to perform this work.

       Plaintiffs’ offer to produce documents concerning Cox’s receipt of copyright infringement

notices, including the number that it would receive, is also inappropriately limited. While there

may be communications with and documents concerning MarkMonitor that also relate to these

issues, documents concerning other ISPs’ responses to receiving copyright infringement notices,

including the number that they would accept, are also directly relevant to this action and would

not be captured by Plaintiffs’ limited agreement. Plaintiffs’ limitations would also not capture

highly relevant documents concerning other ISPs’ actions and statements regarding processing

copyright notices, including their treatment of subscribers who receive copyright infringement

notices or are suspected to be engaging in infringing activity.

       Beyond those categories of documents, it is also likely that Plaintiffs are in possession of

documents that comprise statements by either the RIAA, MarkMonitor, or Plaintiffs concerning

the facts in dispute in this case, which may be admissible as party admissions. See Fed. R. Evid.

801(d)(2)(D). 46 As outlined above, this Court ordered in BMG the production of communications

between BMG and Rightscorp concerning Rightscorp’s relationship with other rights holders and

ISPs on the basis that it was relevant and could be admissible for that reason. The same rationale

applies here. Plaintiffs should be compelled to produce documents responsive to Cox’s requests.




46
   Even if these statements are ultimately not admissible, they are nevertheless discoverable. See,
e.g., Fed. R. Civ. P. 26(b)(1) (“Information within this scope of discovery need not be admissible
in evidence to be discoverable.”).


                                                21
Case 1:18-cv-00950-LO-JFA Document 75 Filed 01/18/19 Page 24 of 31 PageID# 970



IX.    DOCUMENTS CONCERNING AND COMMUNICATIONS WITH THE RIAA

       Cox is requesting Plaintiffs’ communications with and documents concerning the RIAA as

it relates to Cox, copyright infringement, the works-in-suit, and MarkMonitor, including Plaintiffs’

documents and communications concerning their agreement(s) with the RIAA. 47

       The RIAA is Plaintiffs’ agent for purposes of managing MarkMonitor and the copyright

infringement notice program. 48 While Plaintiffs originally agreed during meet and confer to

produce documents concerning, and communications with, the RIAA as it relates to Cox, this

lawsuit, and MarkMonitor (and refused only to produce documents concerning the works-in-

suit), 49 Plaintiffs have now refused in their Supplemental Responses to produce any documents

other than those outlined above in connection with Cox’s requests concerning MarkMonitor

(namely, analyses regarding MarkMonitor between 2012-2014 and documents concerning Cox’s

response to receiving copyright infringement notices). 50

       Upon receiving Plaintiffs’ Supplemental Responses, Cox offered to further narrow its

request to all documents and communications with the RIAA concerning “relationships,

agreements, and communications that pertain to this lawsuit, the works-in-suit, Cox, or

MarkMonitor and/or any other system used to monitor and or police copyrights.” 51 Cox further

narrowed this request by stating that “to the extent the relationship, agreement, and communication

refers to the works-in-suit, Cox is only seeking such documents that relate to validity, ownership,

BitTorrent, peer-to-peer file sharing sites, or copyright infringement.” 52 Cox also narrowed its

request for Plaintiffs’ communications with the “sender” of the copyright infringement notices at


47
   Golinveaux Decl., Ex. 1 (RFP Nos. 153-155, 158, 162).
48
   Golinveaux Decl., Ex. 11 (Plaintiffs’ Rule 26 Disclosures at 5).
49
   Golinveaux Decl., Ex. 3 (Resp. to RFP Nos. 153-155).
50
   Golinveaux Decl., Ex. 19 (Supp. Resp. to RFP Nos. 153-155, 162).
51
   Golinveaux Decl., Ex. 20 (Cox’s Jan. 15, 2019 Ltr. to Plaintiffs at 4-6).
52
   Golinveaux Decl., Ex. 20 (Cox’s Jan. 15, 2019 Ltr. to Plaintiffs at 3-4).


                                                 22
Case 1:18-cv-00950-LO-JFA Document 75 Filed 01/18/19 Page 25 of 31 PageID# 971



issue (here, also the RIAA) to “any correspondence with anyone who sent copyright infringement

notices to Cox on a plaintiffs’ behalf that concerns, in any way, copyright infringement (whether

actual or potential).” 53

          As outlined above in connection with Cox’s requests concerning MarkMonitor, Plaintiffs’

proposed production is woefully deficient. Cox will not receive any documents concerning and

communications with the RIAA as it relates to MarkMonitor outside of an “analysis,” as

unilaterally defined by Plaintiffs, and further limited to the time period 2012-2014. Thus, Cox

cannot expect to receive documents concerning other ISPs’ use of MarkMonitor and any

statements made by any relevant party concerning MarkMonitor’s system. Moreover, Cox will

not receive any documents concerning MarkMonitor outside of the two-year window, including

documents that directly bear on the system that was used to generate the notices at issue.

          In addition, Plaintiffs’ proposed limitation would not encompass any non-privileged

documents that concern the RIAA’s role as Plaintiffs’ agent, including its role in policing for

alleged infringement, monitoring or otherwise analyzing infringement on peer-to-peer file sharing

sites, including BitTorrent, and the validity of Plaintiffs’ copyrights. Plaintiffs’ limitation would

also not encompass documents that concern other ISPs’ reactions to copyright infringement notices

and the number of notices they are willing to accept. These documents may relate to the impact

on Plaintiffs’ business due to the RIAA’s efforts monitoring for infringement or otherwise

enforcing Plaintiffs’ rights, the impact on the amount of infringement from the RIAA’s or other

ISPs’ actions, and other related impacts regarding music consumption on the Internet. These issues

are directly related to Plaintiffs’ claims regarding the consequences of Cox’s alleged actions and

inactions. Indeed, these issues are also relevant to Plaintiffs’ claims that it has been harmed and



53
     Golinveaux Decl., Ex. 20 (Cox’s Jan. 15, 2019 Ltr. to Plaintiffs at 3-4).


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Case 1:18-cv-00950-LO-JFA Document 75 Filed 01/18/19 Page 26 of 31 PageID# 972



Cox has benefited from the alleged conduct. Plaintiffs should be compelled to produce responsive

documents.

X.      THE EFFECT OF INFRINGEMENT ON PEER-TO-PEER NETWORKS

        Cox seeks documents concerning the effects of copyright infringement on Plaintiffs. After

negotiations, Plaintiffs have only agreed to produce a subset of documents. Plaintiffs’ proposed

production is insufficient and they should be compelled to respond to Cox’s already narrowly

tailored requests.

        First, Cox requested documents concerning the effect of copyright infringement over peer-

to-peer file sharing sites on Plaintiffs’ actual revenue and profits and on their projected revenue

and profits during their claim period. 54 Plaintiffs have limited their proposed response only to

documents concerning the effect on actual revenue from the works-in-suit. 55 Cox’s request is not

so limited.    Rather, Cox seeks documents concerning the effect on Plaintiffs’ businesses

generally—including profits, projections, and the effects on other works.           This is because

documents that would likely pertain to the effects of infringement on peer-to-peer file sharing sites

would not be so limited. Allowing Plaintiffs to splice their request as they offer ensures that they

will come back empty-handed. Plaintiffs are a group of 57 record companies and music publishers.

It is thus highly probable that they possess documents responsive to these requests, which are

directly relevant to this case.

        Second, Cox requested documents concerning the “permitted or authorized uses” of peer-

to-peer file sharing sites and the works-in-suit and the potential diminished or diminishing use of

peer-to-peer file sharing sites as it relates to the works-in-suit. 56 While Plaintiffs have agreed to



54
   Golinveaux Decl., Ex. 1 (RFP Nos. 50-51).
55
   Golinveaux Decl., Ex. 21 (Supp. Resp., RFP Nos. 50-51).
56
   Golinveaux Decl., Ex. 1 (RFP Nos. 54-55).


                                                 24
Case 1:18-cv-00950-LO-JFA Document 75 Filed 01/18/19 Page 27 of 31 PageID# 973



produce documents in response to these requests, they offer only to produce documents for the

years 2012 to 2014. This limitation is inappropriate. Plaintiffs’ documents concerning these

topics, whenever created, are highly relevant to Plaintiffs’ allegations concerning, among other

issues, the impact of infringement on Plaintiffs’ business, the reasonableness of ISPs’ actions, the

incentive to the public to infringe via peer-to-peer file sharing sites, how members of the public

decide where to get their Internet, and how the assessment of any these issues has changed or

evolved during the relevant time period. Plaintiffs should be compelled to produce responsive

documents outside of this limited time period.

         Third, Cox requested documents concerning (1) peer-to-peer file sharing sites as it relates

to infringement (whether actual or potential) of the works-in-suit; and (2) documents concerning

the sampling of musical works (whether actual or potential) as it relates to the works-in-suit.57

Plaintiffs have agreed only to produce the following types of documents, many of which are non-

responsive:

                 Supplemental Response to RFP Nos. 52-53: … (1) notices of
                 infringement in their possession, custody, or control that are related
                 to the copyrighted works in suit and were sent to Cox by or on behalf
                 of Plaintiffs, (2) downloads of the unauthorized copies of the
                 copyrighted works infringed by Cox’s subscribers, (3) documents
                 sufficient to show information concerning infringement of the
                 copyrighted works in suit by Cox’s subscribers or customers
                 through BitTorrent, (4) for the period 2012-2014, documents
                 concerning analysis of the reliability of the MarkMonitor system
                 used to produce the copyright notices sent to Cox upon which
                 Plaintiffs will rely in this litigation, (5) for the period 2012-2014,
                 documents relating to Cox’s response to receiving an infringement
                 notice sent by or on behalf of Plaintiffs, and (6) documents
                 concerning the number of infringement notices Cox would accept
                 from Plaintiffs or on behalf of Plaintiffs.




57
     Golinveaux Decl., Ex. 1 (RFP Nos. 52-53).


                                                  25
Case 1:18-cv-00950-LO-JFA Document 75 Filed 01/18/19 Page 28 of 31 PageID# 974



In addition, Plaintiffs have outright refused to produce documents in response to the following

three requests concerning Plaintiffs’ use of BitTorrent or the benefit of their works being made

available through it:

                RFP No. 56: All documents concerning the benefit to any Plaintiff
                due to that Plaintiff’s Copyright Work being made available,
                whether for download or otherwise, over peer-to-peer file sharing
                sites during Plaintiffs’ Claim Period.

                RFP No. 57: All documents concerning Your use of peer-to-peer
                file sharing sites or technology including but not limited to
                BitTorrent.

                RFP No. 58: All documents concerning Your use of peer-to-peer
                file sharing sites or technology to promote, market, or otherwise
                benefit You, any of the Copyright Works, and/or any of the artists
                who created the Copyright Works

       As a preliminary matter, by agreeing to produce documents (in partial response) concerning

the negative effects of infringement on peer-to-peer sharing sites (see RFP Nos. 50-51), Plaintiffs

acknowledge that documents concerning the effect must be relevant, which would necessarily

include the positive effect. Aside from that concession, Plaintiffs’ own allegations demonstrate

that they are likely in possession of documents that concern the positive effect, or benefit, of their

artists’ works being made available on peer-to-peer file sharing sites. See, e.g., Compl. ¶ 1

(alleging that Plaintiffs, through their financial investments and creative efforts, have “developed

and marketed the world’s most famous and popular music” and “shaped the musical landscape as

we know it”).

       Moreover, these documents are clearly relevant to Plaintiffs’ claims that Cox in some way

incentivized its own subscribers to infringe Plaintiffs’ copyrighted works or, as Plaintiffs allege,

encouraged would-be infringers to choose Cox over another ISP. See, e.g., Compl. ¶¶ 85-88, 99,

100, 102, 108, 116. Plaintiffs’ documents may demonstrate that an ISP’s offered Internet speed

or infringement policing efforts has no bearing on a music consumer’s choice of ISP, as Plaintiffs


                                                 26
Case 1:18-cv-00950-LO-JFA Document 75 Filed 01/18/19 Page 29 of 31 PageID# 975



repeatedly allege in their Complaint, see, e.g., id. ¶¶ 85-88, but rather it is the specific artist or the

availability of that artist through other means (such as streaming, YouTube, physical media, etc.),

that contributes to infringement. Because Plaintiffs are seeking damages based on a massive and

secondary liability theory of infringement, any documents bearing on these issues are relevant.

        Furthermore, Plaintiffs cannot assert a legitimate burden in producing these documents, as

they have already agreed to search for and produce related documents, namely those concerning

the negative effects of infringement. Plaintiffs should be compelled to produce responsive

documents.

XI.     CONCLUSION

        For all of these reasons, Cox respectfully requests the Court grant its motion to compel

Plaintiffs to respond to these outstanding discovery requests.



Dated: January 18, 2019                                  Respectfully submitted,

                                                         /s/ Thomas M. Buchanan /
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                                                   27
Case 1:18-cv-00950-LO-JFA Document 75 Filed 01/18/19 Page 30 of 31 PageID# 976



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                                        28
Case 1:18-cv-00950-LO-JFA Document 75 Filed 01/18/19 Page 31 of 31 PageID# 977



                                CERTIFICATE OF SERVICE

       I certify that on January 18, 2019, a copy of the foregoing DEFENDANTS’

MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION TO COMPEL was filed

electronically with the Clerk of Court using the ECF system, which will send notifications to

ECF participants.



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                                               29
